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     Attorneys for Plaintiff
11   JLT SPECIALTY INSURANCE                              Attorneys for Defendants
     SERVICES INC.                                        GARY PESTANA, SARAH SHERMAN.
12                                                        DUSTIN SMITH and RAMY MORCOS
13
                                      UNITED STATES DISTRICT COURT
14
                                    NORTHERN DISTRICT OF CALIFORNIA
15
                                              SAN FRANCISCO DIVISION
16

17   JLT SPECIALTY INSURANCE SERVICES                      Case No. 3:19-cv-02427
     INC., a Delaware corporation,
18                                                         JOINT STIPULATION AND
                             Plaintiff,                    [PROPOSED] ORDER DISMISSING
19                                                         PLAINTIFF’S COMPLAINT
            v.
20
                                                           Complaint Filed: May 3, 2019
21   GARY PESTANA, an individual; SARAH                    Trial Date: Not Set
     SHERMAN, an individual; DUSTIN SMITH,
22   an individual; and RAMY MORCOS, an
     individual,
23
                             Defendants.
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     Joint Stipulation And [Proposed] Order                                         Case No. 3:19-cv-02427
           Case 3:19-cv-02427-MMC Document 79 Filed 01/02/20 Page 2 of 4



1            IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff JLT Specialty

2    Insurance Services Inc. and Defendants Gary Pestana, Sarah Sherman, Dustin Smith, and Ramy

3    Morcos through their undersigned counsel that the above-captioned action, including all claims

4    asserted therein, is voluntarily dismissed with prejudice pursuant to Federal Rule of Civil Procedure

5    41(a)(1)(A)(ii) and Civil L.R. 77-2(c). It is further stipulated and agreed that neither Plaintiff nor

6    Defendant(s) will be deemed a prevailing party under Federal Rule of Civil Procedure 54 and that each

7    party will bear its own attorneys’ fees and litigation costs. .

8

9    IT IS SO STIPULATED.

10

11    Dated: January 2, 2020
12
                                                                 /s/ Benjamin Emmert
13                                                      BENJAMIN A. EMMERT
                                                        LITTLER MENDELSON, P.C.
14
                                                        Attorneys for Plaintiff
15                                                      JLT SPECIALTY INSURANCE SERVICES INC.
16
      Dated: January 2, 2020
17

18                                                                /s/ Patrick M. Johnson
                                                        PATRICK M. JOHNSON
19                                                      HERRICK, FEINSTEIN, LLP
20                                                      Attorneys for Defendants
                                                        Gary Pestana, Sarah Sherman, Dustin Smith, and
21                                                      Ramy Morcos
22                                                      Appearance pro hac vice
      Dated: January 2, 2020
23

24
                                                                 /s/ Tatyana Shmygol
25                                                      TATYANA SHMYGOL
                                                        SV EMPLOYMENT LAW FIRM PC
26
                                                        Attorneys for Defendants
27                                                      Gary Pestana, Sarah Sherman, Dustin Smith, and
                                                        Ramy Morcos
28
                                                          1.
      Joint Stipulation And [Proposed] Order                                          Case No. 3:19-cv-02427
           Case 3:19-cv-02427-MMC Document 79 Filed 01/02/20 Page 3 of 4



1                                          SIGNATURE ATTESTATION

2                     I hereby attest that all signatories listed above, on whose behalf this stipulation is

3    submitted, concur in the filing’s content and have authorized the filing.

4
      Dated: January 2, 2020
5

6
                                                               /s/ Benjamin Emmert
7                                                     BENJAMIN EMMERT
8                                                     Attorneys for Plaintiff
                                                      JLT SPECIALTY INSURANCE SERVICES INC.
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                                                        2.
      Joint Stipulation And [Proposed] Order                                           Case No. 3:19-cv-02427
           Case 3:19-cv-02427-MMC Document 79 Filed 01/02/20 Page 4 of 4



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2
                                               [PROPOSED] ORDER
3
              PURSUANT TO STIPULATION, IT IS SO ORDERED.
4
                        Pursuant to stipulation, IT IS SO ORDERED. The instant matter is hereby dismissed,
5
     in its entirety. The Clerk of the Court is directed to close the file.
6

7
     Dated: ______________________                             ________________________________
8                                                              The Honorable Maxine M. Chesney
                                                               United States District Judge
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                                                          3.
      Joint Stipulation And [Proposed] Order                                         Case No. 3:19-cv-02427
